Case 1:23-cv-24461-PCH Document 28 Entered on FLSD Docket 12/18/2023 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


                               CASE NO.: 1:23-cv-24461-PCH-EGT


   RIGHTS HOLDER,

                  Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A,”

               Defendants.
   ______________________________________/

          ORDER RESETING DEADLINES FOR RESPONSES AND REPLIES TO
             PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

         THIS CAUSE is before the Court sua sponte. The Court notes that Plaintiff filed its Ex

  Parte Application for Entry of Temporary Restraining Order, Preliminary Injunction, and Order

  Restraining Transfer of Assets [ECF No. 10] on November 30, 2023. On December 1, 2023, the

  Court entered its Order Granting Ex Parte Application for Entry of Temporary Restraining Order

  [ECF No. 13], setting a hearing on Plaintiff’s Motion for Preliminary Injunction for December 15,

  2023, and certain deadlines for responses and replies to the Motion for Preliminary Injunction.

         On December 12, 2023, Plaintiff moved to continue the hearing on its Motion for

  Preliminary Injunction [ECF No. 17], and the next day, December 13, 2023, the Court granted

  Plaintiff’s motion [ECF No. 22] and reset the hearing for December 29, 2023, at 11:45 AM. Since

  then, counsel have entered appearances on behalf of certain Defendants [ECF Nos. 20–21, 24–25].

  Because the deadlines for responses and replies to Plaintiff’s Motion for Preliminary Injunction
Case 1:23-cv-24461-PCH Document 28 Entered on FLSD Docket 12/18/2023 Page 2 of 2




  have elapsed and counsel for Defendants have now appeared, the Court finds it appropriate to reset

  those deadlines. Accordingly, the deadline for any response or opposition to Plaintiff’s Motion

  for Preliminary Injunction is reset to 12:00 PM on December 20, 2023, and the deadline for any

  reply memorandum is reset for 12:00 PM on December 22, 2023.

         DONE AND ORDERED in Miami, Florida on December 14, 2023.



                                               ________________________________
                                               PAUL C. HUCK
                                               UNITED STATES DISTRICT JUDGE

  CC: All Counsel of Record
